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                         UNITED STATES DISTRICT COURT
                                 DISTRICT OF NEVADA
 UNITED STATES OF AMERICA,                  )
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                    Plaintiftl              )
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                                            )        2:1I-CR-OX -JCM-ICW H)
                                            )
 DAVID PECOR,                               )
                                            )
                    Defendant.              )
                        FINAL ORDER O F FO RFEITURE AS TO
                            DEFENDANT DAVID PECOR

        On September 20,2012,thisCourtentered the Am ended Prelim inary OrderofForfeiture
 pursuanttoFed.R.Crim.P.32.2(b)(1)and(2);Titlel8,UnitedStatesCode,Section981(a)(1)(C)
 andTitle28,UnitedStatesCode,Section246l(c);Title18,UnitedStatescode,Section982(a)(2)(B);
 andTitle 18,United StatesCode,Section 1029(c)(1)(C),forfeitingpropertyofdefendantDAVID
 PECOR to the United StatesofAmerica.Amended Preliminary OrderofForfeiture, EC F N o.134.
       IT IS HEREBY ORDERED,ADJUDGED,AND DECREED pursuantto Fed. R.Crim .P.
 32.2(b)(4)(A)and(B);Title18,UnitedSltesCode,Section981(a)(1)(C)andTitke28,UnitedStates
 Code,Section2461(c);Title 18,United StatesCode,Section982(a)(2)(B);Title18,UnitedStates
 Code,Section 1029(c)(1)(C);andTitle21,UnitedStatesCode,Sedion8531)thattheforfeitureof
Case 2:11-cr-00063-JCM-CWH    Document 136    Filed 09/24/12   Page 2 of 2



 thepropertynamed intheAmended Preliminary OrderofForfeiture(ECF No.134)istinalasto
 defendantDAVID PECOR
       DATED this         ay of                  ,2012.


                                                   %
                                            D STATES DISTRICT JUDGE




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